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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION
SHARON NAUGHTON,
Plaintiffs,

V. CIVIL ACTION NO.

QUYNHANH H.T. PHAM, M.D. AND
PHAM GENERAL SURGERY, P.C.,

JURY TRIAL DEMANDED

\_/\_/\_/\..,/\_-/\_/\_/\_/\_/\-/

Defendant.
COMPLAINT
NOW COMES SHARON NAUGHTON, Plaintiff in the above-styled action, and files her
claim for damages against QUYNHANH H.T. PHAM, M.D. and PHAM GENERAL SURGERY,
P.C., Defendants in the above-styled action, and show this Honorable Court the following as her
Complaint:
I.

PARTIES JURISDICTION AND VENUE

 

l.
Plaintiff Sharon Naughton is a citizen of the State of Pennsylvania.
2.
At all times relevant herein, Defendant Quynhanh H.T. Pham, M.D. was a citizen of the
State of Georgia and may be served With process at 144 West Cherry Street, Jesup, Gcorgia 31545.
1 3.

The Defendant Pham General Surgery, P.C. is a Professional Corporation organized under

 

 

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the laws of the State of Georgia and may be served with by and through its corporate officer,
Quynhanh I-I.T, Pham, M.D. at 144 West Cherry Street, Jesup, Georgia 31545.
4.

This Court has jurisdiction of this civil action pursuant to 28 U.S.C. §1332 because the
amount in controversy exceeds the sum 0f$75,000.00, exclusive of interest and costs, and is between
citizens of different States.

5.

This Court has jurisdiction over the Defendants Quynhauh H.T.‘Phain, M.D. and Pham
General Surgery, P.C. because they were citizens ofthe State of Georgia at all times relevant herein,
the tortious act occurred in Georgia resulting in an injury in Georgia, and the exercise of jurisdiction
over the Defendants Will not offend traditional notions of fair play and substantial justice.

6.
Pursuant to 28 U.S.C. §l39l(b) venue is proper in this Judicial District.
II.
FACTS SUPPORTING CAUSES OF ACTION
7.

On May 9, 2016, Sharon Naughton underwent a colonoscopy procedure performed by

Quynhanh H.T. Pham, M.D. at Wayne Memorial Hospital in Jesup, Georgia.
8. n

At all times relevant herein, Quynhanh H.T. Pham, M.D. was an employee ofPham General

Surgery, P.C., and Pham General Surgery, P.C. is vicariously liable for the acts of its employees,

agents and/or representatives including, but not limited to, Defendant Quynhanh H.T. Pham, M.D.

 

 

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under the Doctrine of Respondent Superior.
9.

The colonoscopy performed on May 9, 2016 on Sharon Naughton was incomplete and
Quynhanh H.T. Pham, M.D., Individually and as an employee of Pham General Surgery, P.C. did
not fully evaluate Mrs. Naughton’s right colon during the colonoscopy procedure

III.
CAUSES OF ACTION
10.

Defendant Quynhanh H.T. Pham, M.D., lndividually and as an employee of Pham General
Surgery, P.C. had a duty to adhere to the standard of care generally employed by surgeons
performing colonoscopy procedures in the United States of America in 201 6 under similar conditions
and like circumstances by performing another colonoscopy or performing a virtual colonoscopy
and/or barium enema to evaluate the right side of Sharon Naughton’s right colon following the
incomplete colonoscopy performed on May 9, 2016.

11.

Defendant, Quynhanh I-I.T. Pham, M.D., Individually and as an employee ofPham General
Surgery, P.C. breached that duty and violated the standard of care generally employed in the medical
profession under similar and like circumstances in her care and treatment of Sharon Naughton by
failing to fully evaluate Sharon Naughton’s right colon after her May 9, 2016 incomplete
colonoscopy by either repeating the colonoscopy or performing a virtual colonoscopy and/or barium
enema to evaluate the right side of her colon. (See Affidavit of Jonathan P. Pearl, M.D. attached

hereto as Exhibit “A” setting forth at least one negligent act or omission against Defendants

 

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Quynhanh H.T. Pham, M.D. and Pham General Surgery, P.C. pursuant to O.C.G.A. § 9-1 1-9.1 to
the extent such is required.)
1 2.
As a result of this breach and violation of the standard of care by Defendants Quynhanh H.T.
Pham, M.D., Individually and as an employee of Pham General Surgery, P.C., and Pham General
Surgery, P.C., Plaintiff Sharon Naughton suffered injury in that her cancerous lesion which was
present in her right colon on May 9, 2016 was not timely diagnosed or treated when it would have
been at a curable stage when Sharon Naughton could have been cured but as a result of the lesion
present in Sharon Naughton’s right colon not being timely diagnosed or treated, her colon cancer
progressed to stage IV metastatic colon cancer and spread to her liver when it was diagnosed on
September 21, 2017.
1 3 .
As a result of this breach and violation of the standard of care by Defendants Quynhanh H.T.
Pham, M.D., lndividually and as an employee of Pham General Surgery, P.C. and Pham General
Surgery, P.C., Plaintiff Sharon Naughton has incurred and continues to incur medical expenses
14.
As a result of this breach of the violation of the standard of care by Defendants Quynhanh
H.T. Pham, M.D., Individually and as an employee of Pham General Surgery, P.C. and Pham
General Surgery, P. C., Plaintiff Sharon Naughton has suffered and continues to suffered physical and

mental pain and suffering

 

 

 

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IV.
DAMAGES
15.

As a result of the negligent acts and omissions ofDefendants Quynhanh H.T. Pham, M.D.,
Individually and as an employee of Pham General Surgery, P.C. and Pham General Surgery, P.C.,
Plaintiff Sharon Naughton is entitled to special damages for her past, present, and future medical
expenses in an amount to be proven.

16.

As a result of the negligent acts and omissions of Defendants Quynhanh H.T. Pham, M.D.,
lndividually and as an employee of Pham General Surgery, P.C. and Pham General Surgery, P.C.,
Plaintiff Sharon Naughton is entitled to general damages for her past, present, and future physical
and mental pain and suffering in an amount to be determined by a jury.

V.
PRAYER
WHEREFORE, Plaintiff prays that:
A) That Sumrnons and Process be issued on this Complaint and served on the
Defendants along with a copy of the Complaint;
B) That the issues herein be tried by a Jury;
C) That Plaintiff Sharon Naughton have Judgment against Defendants for General
Darnages and Special Damages as set forth in this Complaint;
D) That Plaintiff Sharon Naughton have Judgment against Defendants in excess of

$75,000.00, exclusive of interest and costs;

 

 

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E) That all Cost of Court be taxed against Defendants; and

F) Such other and further relief the Court deems just and equitable

rhis m day er Aprii, 2013.

123 East Charlton Street
Savannah, Georgia 31401

fsbbergenlaws@aol.com
(912) 233-6600

By:

BERGEN &, BERGEN, PC

/S/ Frederick S. Bergen
Frederick S. Bergen
Georgia Bar No. 054160
Attorneys for Plaintiffs

 

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srA'rE or MARYLAND

\_/‘~_/`~_/

COUNTY OF BALT[MORE

AFFIDAVIT OF JONATHAN P. PEARL, M.D.

COMES NOW, JONATHAN P. PEARL, M.D., after being duly sworn by the
undersigned Notary Public in the jurat hereof, and while under oath deposes and says as follows:

1. My name is Jonathan P. Pcarl, M.D. I am over the age of 18 and give this
Affidavit of my own personal knowledge and understanding of the matters testified to herein.

2. I am a medical doctor duly licensed to practice medicine in the State of Maryland,
and 1 have been so continuously licensed to practice medicine since 2005 to the present I arn a
Diplomat of the American Board of Surgery. l have been actively engaged in and continuously
practiced medicine in the specialty of general surgery and performing colonoscopies and cared
for such patients following colonoscopies since 2005 to the present which includes three of the
five years preceeding May 9, 2016 with sufficient &equency to establish appropriate level of the
knowledge of the Standard of -Care generally employed in the medical profession under similar
and like circumstances for general surgeons practicing in the United States of America for the
year 2016 who perform colonoscopies and care for patients following colonoscopies which is the
same procedure and care that Sharon Naughton underwent on May 9, 2016 at Wayne Memorial
Hospital in Jesup, Georgia by Quynhanh H. T, Pham, M.D. A copy of my curriculum vitae
showing my professional and educational qualifications that I make as part of this Affidavit is
attached hereto.

3. I have reviewed the following relating to Sharon Naughton’s care and treatment

l. Medical records of Wayne Memorial Hospital for May7, 2016 Admission;

1 EXHIB|T

§ A

 

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2. Medical records of Wayne Memorial Hospital for August 4, 2016
Admission; -

3. Medical records of Wayne Memorial Hospital for September 18, 2017
Admission;

4. Medical records of Wayne Memorial Hospital for October ll, 2017
Admission;

5. Color Copy of the May 9, 2016 Colonoscopy Report; and,

6. Pham General Surgery, P.C. medical records for March 22, 2016 through
November 17, 2017.

4. Based upon my medical education, training, and experience and review of the
medical records identified in Paragraph 3 of this affidavit, it is my professional opinion, within a
reasonable degree of medical certainty, that Quynhanh H. T. Pham, M.D., individually and as an
employee of Pham General Surgery, P.C. failed to adhere to the standard of care generally
employed in the medical profession under similar or like circumstances by general surgeons who
perform colonoscopies in the United States for the year 2016 by failing to fully evaluate Ms.
Naughton’s right colon after her May 9, 2016 incomplete colonoscopy by either repeating the
colonoscopy or performing a virtual colonoscopy`and/ or barium enema to evaluate her right side
of her colon. As a result of Dr. Pham, individually and as an employee of Pham General
Surgery, P.C. failing to perform any of the aforesaid follow up studies after the May 9, 2016
incomplete colonoscopy performed at Wayne Memorial Hospital, Ms. Naughton’s cancerous
lesion present in her right colon was not timely diagnosed or treated which resulted in her colon
cancer to progress to a Stage IV metastatic colon cancer with spread to her liver.

5. The factual basis for my opinions set forth above in paragraph (4) of this affidavit
is derived from the items identified in Paragraph 3 of this affidavit which reflects that Dr. Pham,
individually and as an employee of Pham General Surgery, P.C. did not follow up with a repeat

colonoscopy or performing a virtual colonoscopy, and/or barium enema to evaluate the right side

2

 

 

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of her colon following Ms. Naughton’s incomplete May 9, 2016 colonoscopy Which would have
revealed a cancerous lesion in the right side of her colon at a curable stage. At the time of her
diagnosis in September 2017, her cancer had spread to a Stage IV Colon Cancer with distant
metastasis. As a result of Dr. Pham, individually and as an employee of Pham General Surgery,
P.C. failing to meet the standard of care generally employed in the medical profession under
similar or like circumstances in 2016 by not having the aforesaid follow up studies of Ms.
Naughton’s colon following the May 9, 2016 incomplete colonoscopy, her earlier Stage Colon
Cancer was not timely diagnosed nor treated which would have prevented it from advancing to a
Stage IV Metastatic Colon Cancer with spread to her liver.

6. This Affidavit isgiven for the purpose of complying with O.C.G.A. §9-11-9.1 and is

not dispositive of my opinions.

 

JONATHAN“P. PEARL, M.D.
Sworn to and subs lbed
before me this day
of MM£: ,2018.

Notary Public
My Commission Expires:

!E J. DEMAREST

Ad{i)li§`rl;i Public-Mary|and
Howard County _

Mv Commission Explres
February25,2021

 

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Jonathan Pearl, MD
As_sociate P-`rofessor, Department of Surgery
Secti'on Chiief, Adv_'an'ced G-I and.Minirnally lnvasive -Surgery
University' of M`arylan'd School of Medic;ine
Deputy Chief,` Surgic'al Services_
Chie`f, General Surgery
Baltimore VA Medical Center

Date Marc-h 21 ,; 1201 8-

 

       

Contac-t In formation
Busines_s =Addr`ess: Depa_rtment of`S-urgery
Division ofGeneral and Oncologic Surgery
29 *S Grcen`e St, S_uite 600
Baltimore, MD `21212
Business iPhone 'annbe_r: (410) 328-6187
_Fa`-x: (410) 3-¥28-59:19
_Err__l_ail: _` '
Education
1995 _B.__S., Biology, Uni`versity of Mich'i'gan (Magna Ctlm Laude)
1999 _M_.YD., Wayne State Univer_sity School ofMedicine

Post Graduate E'ducation and T`raini`ng

1999-2005 .Re'sidency,_ Gencral Surg_ery, Natio'nal Nav-a_l 'M-ed.ica'l Center
2006-2007 Pe.llowship, Advanced haparoscop-y and._Endoscopy
Ca`se Wester.n Rese'rve `University School.zoi"`l\/Iedici'ne

 

Certific-ations
2006 Diplomat, Genera'l S'ur=gery, American Boa'rd of Surgery
2013 Lean. S=i"x; Sig:na, Green and Yellow Belts
Depar`trnent of Ve_t_erans \Affairs
2016 Recerti'tication, 'General Surgery,.Ameri can `Boa_rd of Surgery

Medical Licensu res

 

Inactiv'e Indiana

 

 

 

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-Inactive Ohio
Active Marylan_d_

Mili“ta§y._'_' Service

1993-1999 Ens_ign, US \Navy Rescrve, Dctrolt.
1999L2005 Lie.utenant, 'US _Navy, Bethesda, MD
2005.-2_006 Li'eu'tenant C'omm'ander, US Navy
U'_=SS G_EO_RGE WAS_HINGTON, Norfoll`<,_ VA
2006-2008 Liie_uten__a_nt C_ommand_er? US Nav-y, Bethe_sda
2008~2009 G_ornlnan'del_f, US Nav-y
Camp ,a_'l__ `I}a;qaddum ,_ Iraq
2009-2010 'Colnman`dcr_,_'US Nai!_y, Befhcsda
20-lfl)~201 1 'Command_cr, IUS' Navy
.Q`amp Arifj an,-`__Kjuwf_ait
2011-2012 :`Comr`nander, US Navy, Bethesda
Honorable Discl'rarge, 2012.

Employ_ment Histo§y"""'
Academic Appointme'nts

2004-2005 'Instructor, Surgery, -Uniformed Service's Univers_i-ty
2006-2007 Instructor, Surgery, Case Western Rese'rve

_200")_"-2012 Assistant Professor, Surgery, `Uniformed Services University
2012-2016 Assista'nt Professor, Surgery, UMSOM

2016Lpresent Associa'te Prcfessor, Surge_'ry, UMSOM`

_Profe'ssio'n_ Socieg; Me'mbership

'2004~pr-ese_nt General _Mernber, Society of Arner_ic'an Gastrointesti‘nal and
En`doscopic Surgeons (SAGES)

2004-2010 G`eneral M_ember, Washington, DC Chapter
American Col.lege cf `Surgeons

2007-present F`ellow, American College of Surgeons

2010-2012 Bo'ard Mcrn_ber, Washington, -DC Chapter
American Colle'ge of Surgeons

2012-present General Member, Association of Academic Surger_v

Honors and Awards

 

 

 

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l995 P_hi B=eta Kappa, Univers'ity of Mi_chl_gan
2004 First Prize_, Surgical Residents Co_mpetitive Forum,
Washi'rlgton, _DC Chapter, Am;e_rican Ccllege of S_urgeons
2005 Harry Zehner Traveling Fellowship, `
Was'hington, fDC Chapter, American Coll_ege of Surgeons
2013 Surgery _Re_siden't T-eac'hi'ng Award, UMSOM

Clinical Activities-

 

Ciinical Effxpertise

Board certified general surgeon

Fellowship-t_rained in advanced laparoscopy and endosco_py

_Clinical expert in complex hernia_rep'air and advanced .G=I surgery
Resea`-'r'ch focus on advanced imaging in surgery and simulation-education
Process and Q_uality lmprovement expert

Sco e ofz"Clin.ical ,Pra'c-'ti`ce

   

2012-present B'altimore VfAMC
~200 cases per year
Dep_ut_y Ch'ief of Surgi_c-al Servi`ces
Chief of Gcneral Surgery

37.5.% .F.TE

2`012=:'pre`sent University ofMary_l_`and Me'_dical Cente'r
~125 cases per year
12.5% FTE

2012-present UMM_C, M_idtown Cam'pus

~'l_25 cases per year
llnstituticnal Se-rvi_ce
2012-2015 Med'ijcal Director, MASTRIc Si_mulation Center

Over-'s_e'e- staff"of 3 and budget of $600,00_0. .Provicle-
oversight for over 6000 learners per year in= simulation

center~.
2012-present Chiet`, Peribperative Se_rvices-, Baltimore VAMC
2012~present Memb.e_r, Perioperative _Execu_t_ive Comm_ittee,
\Baltimore VAMC
20_]3-20§6 Chair, Med_i_oal Records Connni_ttee, Baltimore`VAl\/IC

 

 

 

 

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201 3-present
2014-present
201 5- present

2015-present

2015-2017
201 7-pr_esen_t

_National Service'
.-__...___,

2007-present

2007~201_ 2
2003~present
2008:present

201 1.-.present

20 13__prese_n't
20.-1_3 -present

201 3-20 l 5
2013 -_2`0 14
20 l_`3-pjresent
201 _6-p1'esent
2017-present

L_o'ca'l_ Ser~vice

2009-42012

2009-2012
201 0-1201'2

201 0»201'2

Oversee process to reduce delinquent record rate from 55%
to `1:3%- over 6 months

Ch_fef, General Surgery, Baltimore VAMC

Int_e_rview'er, UMSOM Admissions Com'mittee

Chai_r_, 'Surgical Process improvement `Sub-Committee
Baltimore VAM_C

Member, _Executive- Process lmprovement Gommittee
Baltirnore VAMC-

Co-iChair, UMMC Colon. SS_E. Reduction Tas-k Force
Dep_uty Chief, Su'rg'ical S`ervices, Baltimore VAMC

_Meinber, Fundamentals of 'E`ndosco'p'ic Surgery Committce,
SAG_ES

Facu-lty Member, Basic La‘pa'rosc'opy Cour'se_, SAG'ES
-Mernber, Guidelines Cornmittee?_ SAGES `

Ad hoc rcv-iewer, Surgical Ejndoscopy

_l_2§'manuscripts reviewed per year

Fa'culty M'ember, Ski|ls Course: Surgical Endoscopy:
Advancing MIS and Retooling our Wo'rkforce
American`=College of Surgeons Clinical Congress

Ad hoc revj'ewer, Journal ofSurgical Re_search

30 manuscripts reviewed per year

M`ernber, Publications Con_imitte=e

A'_ssociation of Academic Surgery

M_cmber, Op_e_n to MIS Committee'-, SAGES

F_ac-ulty Mem`be_r,_- CBD_Exploration Skills \Course, SAGES_
C'o'_urse Chair, EES Learning Cente_r, SAGES

Me'mber, Acu_te Care~ Su`rgery Task Force, SAGES

Lea'jtler, Living Guidelines Task F'orce, SAGES

Chair, Yo_ung Surgeons Comm`ittee, Washi-ngt_on DC
Chapter, American College of'S`urgeons

Director, Al_l.-City Grand Rounds, Washington 'DC
Councilor, Washington DC Chapter,_ Americ'an College of
Surgeons-

C'ourse-'Director, Resident Basic Scie_nce Re§v.iew Course,
`Wash"i_ng'tjon DC fChapter, A~n§icrican =Co`llege of Surgeons

 

 

 

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Teaching Service

Medical Studen`t Teaching

201 2-present
2012-present
2012-present

201 2:-=p_re'sent

201 3~present.

2`0_13~present'

_Residen't' Teachin'g
2012-present

201 2-_p_res'ent

2012-present

201 4-present

_Grant Support
Completcd Grant

'Small group lecture, Hernia, Surgery Clerkship

15 3rd year studentsj 6` contact hours per year

Skil`l_'s session Icader, Suturing, Surgery Cle_rkship-

8 3"' year students,.'48 contact hours per year

Faculty_, Abdominal Examination-,_

10 2"d year students-,_ 2 contact hours per year

Atte`nding Surgeon, VA General S`urgery: inpatient service
cutpatient clinic, operating room, small group sessions
2_._3’d year medical students, 20__0- contact hours per year
Faculty, _Anatcmy for Surgery Course

8 4-'"‘ year stu dents, -4 contact hours per year

Fa`culty, Lap_aroscopic Sk_i_l-l_s Session, Surgery Boot Camp,
12`-.4`-th year medical students, 3 contact hours per year

5

Attendin__g Surgery, VA G'eneral Sur_gery;, inpatient service,
colonoscopy Clinic, outpatient _clinic, teach'in g sessions
2-4 surgery rcsidents, 300 contact hours per year
F`aculty, Mock O`_ral Boards

25 surgery re_sid_ents, 6 contact hours per year

B_a_sic and clinical science lecture series

Hernia and Foregut sessions-

16 surgery residents, 4 contact hours per year
Sim"_ulation skills session leader

Fundarnentals o.fLaparoscop_ic Surger

'2-4 surgery _residents, 50 contact hours/year

06/01/20'1.4-06/'01/201.`6 Co-i'nvestigato_r (1_ %) PI: E Ritter

Development ofa proficiency based training
program for FES

SA_GBS- `F.oundation_ Grant

Total_Direct Costs: $3 0,000

19

 

 

 

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04!21f2014-§0:1/.`2-`1/-2015 Principa"l` Investi gator (10%)
Thermal Endoscope' for Lap'arosco_pic Surgery
Maryland Innovation Initiati-ve
Maryland Technology and D_evelop'm;e'nt Corp
Total fDirect Costs:, $109,_000

Pu' blieation_s__j

 

§Pee_r-.reviewed journal`_ar'ticles

1. Chao A, Pearl J, Perdue PW, Wan'g_ D, B`ridgeman A, _K'ennedy SO, Ling'G,
Rhe"e P. Utility of routine serial computed tomography for blunt intracrani`al
'inj_ury-. J Traurna. 200`1; 51870-5.

`2_. `Pear`l -J, Ram*irez AR, Petruz-i_e-llo M, Perdue PW. _Small bowel perforation
after a quad cough maneuver. J Traum"a. 2001 ; 51 : 162»_3-,_

3. Pearl JP, El-ster EA, Golocovsky M. Nonfunctic_nal islet cell carcinoma ofthe
pancreas. Arn Surg. 2002; 68: 886-8.

4. Pearl JP, McNally _MP,. Perdue PW. Femo_ral vessel injury in modern Warf_`are
since Viet"nam. Mil Me'd. 2003; 1681 733-5.

5. Pe"arfl'JP, Chao A, `Kennedy SO, Rhee P. Penetrating portal vein injjury:_ case
series._ J Trauma. 2004; l56: 779`~82.

6. Peari -JP, Parris J, Hale DA, Hoff`rnan `SC, Bernstein WB_§,_ McCoy KL,
Swanson SJ, Mannon RB, Roederer M, Kirk AD. lrmlnunocompetcnt T-cells
with a memory phe_notype are-the dominant-cell type following antibody~
mediated T-cell depletion. Am_.l Transplan`t. 2005 ;5(3_):465-74.

7. Presto_n-EH, Xn_ H, Dhaniredd?y KK, Pe`arl JP, Leopardi FV,_ Staros_`t- MF, `Hale
DA, Kirk AD.l ‘lDEC-l=?»ll_ (anti'-CD_154), sirolimus and do_nor~specific
transfusion facilitate operational tolerance in non-human primates, Am J

7 Tra'nsplant. 2005;5'(-5):1032-41. (collected and anab)zed dam)

8. Pear-l JP, McNally MP, Elster EA, DeNobil_e JW._ Ben.ign_ pneumoper_itone'um
after colonosco_p_y: A prospective pilot study. Mil Med. 2006; 1_71(7):' 648-9.

9. Marks JM-_, Po`nsky JL, Pe'arl JP, McGee MF. PEG Rescue_A practical
NOTES technique Surg Endosc 2007. 21(5); 81=6-9_.-

 

 

 

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(coflected"_and analyzed data_)f

10, Pearl JP-, Xu if-_l, L'eopardi F, Pr'eston E, Kirk.AD. CDl_54 Bloc`kade,

Siroli'm us, and _Donor-Spec_ific Tran_s_fusion Prevents _R`en_al ilallograf’t
_Rejection in Cy'_nom'olgu's l\/lonkey's Despite Homeostatic ”'E-'Cell Activation.
Transplantati`on 2007. 83'(9): 1219~`1225.

11 l. `Duncan. JE, Corwin C'H, Sweeney WB, Dunne JR, DeNobi`le JW, Perdue PW,
Galarneau MR, Pearl JP. Management_ of colorect_al injuries during Operation
Iraqi F`reedom:: Patterns of stoma usage. J 'l`rauma 200`8. 64(4`) 1043-7.

12._ Pearl JP, Marks JM, Hardacre JM, Ponsky JL, Delancy CP,` Ro'sen MJ`.
Laparoscopic management of complex small bowel obstruction:' ls it safe?
Surg I`nnov 2008'. 15(2) 110-113-.

.13. Ponsky LE-, P-oulose BK, Pearl .I`, Ponsky JL. 'Natural orifice.translumenal
endosco_piic surgery: reality _or myth? J` Endourol. 2009; 23(5); 733-5.

134-l Crane NJ, McI-Ione B, Hawksworth J, Pe_arl .IP, DeNob"i`l_e J, Tadaki D, Pinto
_PA, Levin I_-W_, Elster EA.Enhan'c_e_d surgical imaging:. .La_p'aroscopic vessel
identification and assessment of tissue oxygen-ation. J A'm :-G`oll Surg@_`2008
5un;'206(3`):1'1_159-6`6_.

15. H_`offman SC`, _P_earl_JP, B'l_e"i_rPJ, _KfiirikiA`D. Immune profiling: molecular
monitoring in renal -transpl'antation. Pront B‘ijosc. 2003; 8: 444-'62.

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doom outside the triangle J Am Co.l_l Surg 20`09{.: 15208(3): 478-_9?.

17. Pe_arl JP, Rosen MJ. S'econd-look lapare'scopy alter l=apa`roscopic relief ot.`
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